Case 17-41278            Doc 91-1    Filed 06/21/18 Entered 06/21/18 14:52:00        Desc Exhibit
                                            A Page 1 of 1
                         LAW OFFICE OF ALAN DAVID MEYERSON
                                          ATTORNEY-AT-LAW

                                     100 STATE STREET NINTH FLOOR
ALAN D. MEYERSON                      BOSTON, MASSACHUSETTS 02109
email: alan@alandavidmeyerson.com          Telephone (617) 444-9525
                                               Fax (617) 934-7715


                                        SETTLEMENT SHEET
June 19, 2018

John A. Yellig, III
42 Tracey Drive
Whittinsville, MA 01588

         Re:       John A. Yellig, III v. Veterans Inc.
                   U.S. Bankruptcy Court of Massachusetts Central Division
                   Case No.: 17-41278/Adv. Proc. No. 17-04040

PROFESSIONAL SERVICES RENDERED
In connection with claims of FMLA Interference/Retaliation against Veterans Inc.

SETTLEMENT                          ATTORNEY’S FEE              EXEPENSES
$7,500.00                           $1,900.00                   N/A

BALANCE/DISBURSEMENT TO CLIENT/TRUSTEE
$5,600.00

If you have any questions or concerns, do not hesitate to contact me. It has truly been my pleasure
to work with you. I wish you all the best in all your future endeavors.


                                                Respectfully,

                                                /s/ Alan D. Meyerson
                                                Alan D. Meyerson
